                Case 22-11068-JTD              Doc 4552         Filed 12/07/23         Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al.,                                       Case No. 22-11068 (JTD)

         Debtors. 1                                             (Jointly Administered)



         DEBTORS’ NOTICE OF SETTLEMENT CONSUMMATED PURSUANT TO
            SMALL ESTATE CLAIMS SETTLEMENT PROCEDURES ORDER

                 Pursuant to Paragraph 5 of the Order Authorizing and Approving Procedures for

Settling Certain Existing and Future Litigation Claims and Causes of Action (the “Small Estate

Claims Settlement Procedures Order”) entered on September 11, 2023 [D.I. 2487], FTX Trading

Ltd. and its affiliated debtors and debtors-in-possession hereby file this notice that the settlements

identified at Exhibit A were consummated during the month of November pursuant to the Small

Estate Claims Settlement Procedures Order. 2




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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
    4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Small Estate
    Claims Settlement Procedures Order.
            Case 22-11068-JTD   Doc 4552   Filed 12/07/23    Page 2 of 2




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